                                                                                                                               Rev. 12/01/19
                                                           LOCAL BANKRUPTCY FORM 3015-1

                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                                                       CHAPTER 13
Martin Ditsky                                                                CASE NO.   5:23-bk-2799

                                                                                   ORIGINAL PLAN
                                                                                    AMENDED PLAN (Indicate 1st, 2nd, 3rd, etc.)
                                                                                   Number of Motions to Avoid Liens
                                                                                   Number of Motions to Value Collateral

                                                                     CHAPTER 13 PLAN

                                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is checked as
“Not Included” or if both boxes are checked or if neither box is checked, the provision will be ineffective if set out later in the plan.

1     The plan contains nonstandard provisions, set out in § 9, which are not included               Included            Not Included
      in the standard plan as approved by the U.S. Bankruptcy Court for the Middle
      District of Pennsylvania.
2     The plan contains a limit on the amount of a secured claim, set out in § 2.E, which            Included            Not Included
      may result in a partial payment or no payment at all to the secured creditor.
3     The plan avoids a judicial lien or nonpossessory, nonpurchase-money security                   Included            Not Included
      interest, set out in § 2.G.

                                               YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely written objection. This plan may be
confirmed and become binding on you without further notice or hearing unless a written objection is filed before the deadline stated on
the Notice issued in connection with the filing of the plan.


1.         PLAN FUNDING AND LENGTH OF PLAN.

           A.          Plan Payments From Future Income


                       1. To date, the Debtor paid $ 0 (enter $0 if no payments have been made to the Trustee to date). Debtor shall pay to
                       the Trustee for the remaining term of the plan the following payments. If applicable, in addition to monthly plan
                       payments, Debtor shall make conduit payments through the Trustee as set forth below. The total base plan is
                       $48,837.00, plus other payments and property stated in § 1B below:

      Start                  End                                Plan                  Estimated          Total              Total
      mm/yy                 mm/yy                             Payment                  Conduit          Monthly           Payment
                                                                                      Payment           Payment           Over Plan
                                                                                                                            Tier
1                     60                                                  521.00            292.95              814.00             48,837.00




                                                                                                     Total Payments:              $48,837.00

                       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee that a different payment
                       is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in writing, to adjust the conduit payments
                       and the plan funding. Debtor must pay all post-petition mortgage payments that come due before the initiation of
                       conduit mortgage payments.

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                       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to the terms of the plan.

                       4. CHECK ONE:             Debtor is at or under median income. If this line is checked, the rest of § 1.A.4 need not be
                                              completed or reproduced.


           B.          Additional Plan Funding From Liquidation of Assets/Other

                       1. The Debtor estimates that the liquidation value of this estate is $0.00. (Liquidation value is calculated as the value
                          of all non-exempt assets after the deduction of valid liens and encumbrances and before the deduction of Trustee
                          fees and priority claims.)

                       Check one of the following two lines.

                           No assets will be liquidated. If this line is checked, the rest of § 1.B.2 and complete § 1.B.3 if applicable

                           Certain assets will be liquidated as follows:

                       2. In addition to the above specified plan payments, Debtor shall dedicate to the plan proceeds in the estimated amount
                           of $ from the sale of property known and designated as . All sales shall be completed by . If the property
                           does not sell by the date specified, then the disposition of the property shall be as follows:


                       3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as follows:


2.         SECURED CLAIMS.

           A.          Pre-Confirmation Distributions. Check one.

                None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

                Adequate protection and conduit payments in the following amounts will be paid by the Debtor to the Trustee. The Trustee
                 will disburse these payments for which a proof of claim has been filed as soon as practicable after receipt of said payments
                 from the Debtor.

                                                                                                           Last Four Digits          Estimated
                                               Name of Creditor
                                                                                                             of Account              Monthly
                                                                                                              Number                 Payment
Key Bank S/B/M First Niagra Bank NA-Mortgage
                                                                                                        8397                               $292.95
One Main Financial                       Vehicle-2016 Mazda 6                                           1621                                $93.69

           1. The Trustee will not make a partial payment. If the Debtor makes a partial plan payment, or if it is not paid on time and the
              Trustee is unable to pay timely a payment due on a claim in this section, the Debtor’s cure of this default must include any
              applicable late charges.

           2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the conduit payment to the Trustee will
              not require modification of this plan.

           B.          Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other Direct Payments by Debtor.
                       Check one.

                None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

                Payments will be made by the Debtor directly to the creditor according to the original contract terms, and without
                 modification of those terms unless otherwise agreed to by the contracting parties. All liens survive the plan if not avoided
                 or paid in full under the plan.

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        Name of Creditor                                       Description of Collateral                Last Four Digits of Account Number


     C.          Arrears (Including, but not limited to, claims secured by Debtor’s principal residence). Check one.

                None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

                The Trustee shall distribute to each creditor set forth below the amount of arrearages in the allowed claim. If post-petition
                 arrears are not itemized in an allowed claim, they shall be paid in the amount stated below. Unless otherwise ordered, if
                 relief from the automatic stay is granted as to any collateral listed in this section, all payments to the creditor as to that
                 collateral shall cease, and the claim will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

                                                                                                Estimated          Estimated
                                                                                                                                   Estimated
                                                                                               Pre-petition       Post-petition
        Name of Creditor                               Description of Collateral                                                  Total to be
                                                                                               Arrears to be      Arrears to be
                                                                                                                                  paid in plan
                                                                                                  Cured              Cured
Key Bank S/B/M First Niagra              330 1/2 East Abbot Street, Lansford, PA 18232
Bank NA                                  Carbon County                                              $20,000.00           $0.00        $20,000.00
                                         330 1/2 East Abbot Street, Lansford, PA 18232
Landsford Borough Taxes                  Carbon County                                                 $600.00           $0.00            $600.00

     D.          Other secured claims (conduit payments and claims for which a § 506 valuation is not applicable, etc.)
                None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.

                                                                                        Value of                                        Plan,
                                                                                       Collateral      Interest        Total         Adversary
        Name of Creditor                        Description of Collateral
                                                                                       (Modified        Rate          Payment         or Other
                                                                                       Principal)                                      Action
                                         2016 Mazda 6 Sedan 76000 miles
One Main Financial                       Vehicle                                           $3,726.11      9.95%         $4,965.73        Plan

           E.          Secured claims for which a § 506 valuation is applicable. Check one.

                None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

                Claims listed in the subsection are debts secured by property not described in § 2.D of this plan. These claims will be paid in
                 the plan according to modified terms, and liens retained until the earlier of the payment of the underlying debt determined
                 under nonbankruptcy law or discharge under §1328 of the Code. The excess of the creditor’s claim will be treated as an
                 unsecured claim. Any claim listed as “$0.00” or “NO VALUE” in the “Modified Principal Balance” column below will be
                 treated as an unsecured claim. The liens will be avoided or limited through the plan or Debtor will file an adversary or other
                 action (select method in last column). To the extent not already determined, the amount, extent or validity of the allowed
                 secured claim for each claim listed below will be determined by the court at the confirmation hearing. Unless otherwise
                 ordered, if the claimant notifies the Trustee that the claim was paid, payments on the claim shall cease.

                                                                                        Value of                                        Plan,
                                                                                       Collateral      Interest        Total         Adversary
        Name of Creditor                        Description of Collateral
                                                                                       (Modified        Rate          Payment         or Other
                                                                                       Principal)                                      Action


           F.          Surrender of Collateral. Check one.

                None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

           G.          Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check one.

                None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

3.          PRIORITY CLAIMS.
                                                                               3
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           A.          Administrative Claims

                       1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by the United States Trustee.

                       2. Attorney’s fees. Complete only one of the following options:

                              a.      In addition to the retainer of $ 500.00 already paid by the Debtor, the amount of $ 3,500.00 in the
                                      plan. This represents the unpaid balance of the presumptively reasonable fee specified in L.B.R.
                                      2016-2(c); or

                              b.      $       per hour, with the hourly rate to be adjusted in accordance with the terms of the written fee
                                      agreement between the Debtor and the attorney. Payment of such lodestar compensation shall require a
                                      separate fee application with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

                       3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                                 Check one of the following two lines.

                None. If “None” is checked, the rest of § 3.A.3 need not be completed or reproduced.

           B. Priority Claims (including, certain Domestic Support Obligations)

                None. If “None” is checked, the rest of § 3.B need not be completed or reproduced.

           C. Domestic Support Obligations assigned to or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B). Check one
              of the following two lines.

                None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.

4.         UNSECURED CLAIMS

           A. Claims of Unsecured Nonpriority Creditors Specially Classified.
              Check one of the following two lines.

                None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

           B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds remaining after payment of other
              classes.

5.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two lines.

                None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

6.         VESTING OF PROPERTY OF THE ESTATE.

           Property of the estate will vest in the Debtor upon

           Check the applicable line:

                  plan confirmation.
                  entry of discharge.
                  closing of case.


7.         DISCHARGE: (Check one)

                The debtor will seek a discharge pursuant to § 1328(a).
                The debtor is not eligible for a discharge because the debtor has previously received a discharge described in § 1328(f).


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8.         ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee will treat the claim as allowed,
subject to objection by the Debtor.



Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels are not filled-in, then the order
of distribution of plan payments will be determined by the Trustee using the following as a guide:

Level 1:         Adequate protection payments.
Level 2:         Debtor's attorney's fees.
Level 3:         Domestic Support Obligations.
Level 4:         Priority claims, pro rata.
Level 5:         Secured claims, pro rata.
Level 6:         Specially classified unsecured claims.
Level 7:         Timely filed general unsecured claims.
Level 8:         Untimely filed general unsecured claims to which the Debtor has not objected.

9.          NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed elsewhere in the plan is void.
(NOTE: The plan and any attachment must be filed as one document, not as a plan and exhibit.)

Dated:        January 2, 2024                                                  /s/ Erik M. Helbing
                                                                               Erik M. Helbing 203832
                                                                               Attorney for Debtor

                                                                               /s/ Martin Ditsky
                                                                               Martin Ditsky
                                                                               Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also certifies that this plan contains no
nonstandard provisions other than those set out in § 9.




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